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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

DYNAENERGETICS EUROPE GMBH, and        §
                                       §
DYNAENERGETICS US, INC.,               §
Plaintiffs,                            §
                                       §              Civil Action No: 6:20-cv-00069
v.                                     §
                                       §
HUNTING TITAN, INC.,                   §
Defendant.                             §
                                       §
______________________________________ §
                                       §
DYNAENERGETICS GMBH & CO. KG, and §
DYNAENERGETICS US, INC.,               §              United States District Court for the
Plaintiffs,                            §              Southern District of Texas,
                                       §              Houston Division
v.                                     §              Civil Action No: 4:17-cv-03784
                                       §
HUNTING TITAN, LTD., HUNTING           §
TITAN, INC., and HUNTING ENERGY        §
SERVICES, INC,                         §
Defendants                             §



                        PROPOSED ORDER TO TRANSFER VENUE

         On this Date came to be considered Defendant’s Opposed Motion to Transfer Venue. The

Court, having considered the Motion, Plaintiff’s Response, and any reply, and having heard the

arguments of counsel, if any, finds that the Motion should be and hereby is GRANTED.

         It is, therefore, ORDERED that the United States District Court for the Western District of

Texas, Waco Division, Civil Action No. 6:20-cv-00069 is TRANSFERRED to the Southern

District of Texas, Houston Division for potential consolidation into Civil Action No. 4:17-cv-

03784.



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SIGNED this _____ day of _______, 2019

                                         __________________________________________
                                         ALAN D. ALBRIGHT
                                         UNITED STATES DISTRICT JUDGE




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